Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 1 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 2 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 3 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 4 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 5 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 6 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 7 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 8 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 9 of 10
Case 3:04-cr-00008-FDW-CH   Document 89   Filed 02/21/06   Page 10 of 10
